   Case:18-00775-MCF13 Doc#:32 Filed:09/17/18 Entered:09/17/18 16:05:52                                                              Desc: Main
                       IN THE UNITED STATES BANKRUPTCY
                                 Document   Page 1 of 1 COURT
                                                FOR THE DISTRICT OF PUERTO RICO

IN RE:

WILLIAM ALVIRA RIVERA                                                                        CASE NO. 18-00775-MCF
                                                                                             CHAPTER 13
   DEBTOR(S)
                                                                                                **AMENDED DOCUMENT**

                                                  TRUSTEE'S REPORT ON CONFIRMATION
1. A meeting of creditors pursuant to Section 341 was held on 03/20/2018. The meeting was (was not) duly attended by
debtor(s) and their attorney.

2. The liquidation value of the estate is: to be determined

3. With respect to the attached payment plan:


                                PLAN DATE: May 29, 2018                                       PLAN BASE: $8,625.00

TRUSTEE'S COMMENTS AND RECOMENDATIONS DATED: 9/17/2018
                            FAVORABLE                                                             X UNFAVORABLE
  1. [X] FAILS LIQUIDATION VALUE TEST § 1325(a)(4):

   1. In order to evaluate for avoidance purposes debtor’s sale of a trailer in $5,000 two weeks before his
bankruptcy filing, debtor is asked to provide document to review value of the trailer. (2 )Inform if debtor is
willing to enter into an agreement with trustee, which includes the transferee as well, whereby debtor pays for
the value of the trailer. 2. More documentation is needed, besides the Repudiation Deed, in order to evaluate
debtor’s repudiation of his inheritance interest of his deceased father on April 7, 2017. Has the decedent’s
estate tax return (“planilla de caudal relicto”) been filed? If so, provide copy of said document as it includes a
listing of all assets and liabilities. In absence of the mentioned tax return, provide documentation showing all
assets and liabilities of the decedent’s estate. As to real properties of the deceased father, provide title search
to verify liens. Why did debtor execute the Repudiation Deed?




  [X] OTHER:

  1. Debtor is asked to provide bank statements and/or card statements three months before filing in order to
review a preferential payments. 2. Part 3.7 of the plan does not specify whether secured creditor CRIM will be
paid in full. 3. Pending adjudication of Trustee's objection to claim #7 filed by Coop A/C Aguas Buenas in
dkt#17 since claim was filed after bar dates elapsed.


NOTICE: This report anticipates Trustee’s position as per 11 USC § 1302(b)(2) a copy of which has been served upon counsel for debtor(s). Copies
    are available to parties in interest at the Trustee’s Office.

                                                                                        /s/ Miriam Salwen Acosta
                                                                                        Miriam Salwen Acosta
Atty: ROBERTO FIGUEROA                                                                  USDC # 208910
                                                                                         ALEJANDRO OLIVERAS RIVERA
                                                                                         Chapter 13 Trustee
                                                                                         PO Box 9024062, Old San Juan Station
                                                                                         San Juan PR 00902-4062
                                                                                        CMC - GB
